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 Special Litigation Counsel to Plaintiff Gregory Messer,
   Chapter 7 Trustee of the Estate of Fyre Festival LLC

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------------x
 In re                                                             :
                                                                   :   Chapter 7
 FYRE FESTIVAL LLC,                                                :
                                                                   :   Case No. 17-11883 (MG)
                                    Debtor.                        :
 ------------------------------------------------------------------x
 GREGORY M. MESSER, as Chapter 7 Trustee of the :
 Estate of Fyre Festival LLC,                                      :
                                                                   :
                                            Plaintiff,             :
                                                                   :    Adv. Pro. No. 19-_______
                -against-                                          :
                                                                   :
 YARON LAVI,                                                       :
                                                                   :
                                            Defendant.             :
 ------------------------------------------------------------------x

                 COMPLAINT SEEKING THE AVOIDANCE AND
           RECOVERY OF FRAUDULENT AND PREFERENTIAL TRANSFERS

        Gregory M. Messer, the Chapter 7 Trustee (the “Trustee” or “Plaintiff”) of the estate of

Fyre Festival LLC (“Fyre Festival” or the “Debtor”), by and through his counsel, Klestadt Winters

Jureller Southard & Stevens, LLP, as and for his complaint (the “Complaint”) herein against Yaron

Lavi (the “Defendant”), upon information and belief, alleges as follows:
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                                   PRELIMINARY STATEMENT

       William Z. McFarland, a/k/a Billy McFarland (“McFarland”) and his business partner, hip

hop artist Jeffrey Atkins, a/k/a Ja Rule (“Ja Rule”), started Fyre Media Inc. (“Fyre Media”) in early

2016 with the intention of creating and promoting a software application for booking

entertainment. In or around late-summer 2016, the two conceived of the “Fyre Festival” (the

“Festival”), which was to be a unique destination concert experience in the Caribbean aimed at

young millennials and featuring a number of top musical acts. The Festival was scheduled over

two weekends in April and May 2017 in the Exumas, Bahamas, and was intended to, among other

things, promote Fyre Media’s booking application. The Festival was self-described in an offering

memorandum designed to solicit investments as follows:

                                                 OVERVIEW

                            Fyre Festival leverages our global access to talent and
                          our understanding of the millennial demographic to create

                          THE CULTURAL EXPERIENCE OF THE DECADE.

                              Fyre Festival is a rich experience that emboldens
                              our quest to connect to a diverse set of influencers.

                   For two weekends in April and May, the curious and adventurous come
                                  together on a private Exuma island:

                    Fyre Festival will feature music from the greatest talents in the world,
                  immersive experiences through art, theater, and a weekend long treasure
                  hunt; as well as informative discussions with some of the brightest minds
                  in the world. Fyre will be defined by its ability to connect: the ultimate in
                                             a tasteful experience.

(emphasis in original).

       The Festival was promoted on Instagram, Twitter and other social media outlets by

numerous “influencers” including socialite and model Kendall Jenner, as well as a number of

famous models like Bella Hadid and Emily Ratajkowski. Ticket buyers were promised an exotic

island adventure with luxury accommodations, gourmet food, the hottest musical acts and celebrity

attendees. The unique social media marketing method employed by Fyre Festival tapped in on the
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power of FOMO (short for “fear of missing out”) and was extraordinarily successful amongst

millennials, resulting in significant ticket sales.

         When concertgoers arrived at the Festival on April 27, 2017, they “were met with total

disorganization and chaos.”1 None of the promised musical acts showed up or performed. The

luxury accommodations turned out to be FEMA disaster relief tents. The gourmet food consisted

of the now infamous cheese sandwich served in a Styrofoam container that was even joked about

by Tina Fey during her opening monologue at the 2019 Academy Awards.2 Feral dogs roamed

the site and no models or celebrities, including those that promoted the Festival and told their

social media followers that they would be there, were in attendance. The disaster that became of

the Festival is now infamous, capturing the attention of popular culture and spawning two separate

documentaries on Hulu and Netflix.

         McFarland raised and spent over $16 million in connection with the failed Festival, at least

that the Trustee has identified thus far.3 Nearly all of those funds were deposited into and disbursed

from accounts held by Fyre Media, Fyre Festival’s parent company (Fyre Media and Fyre Festival

collectively, the “Fyre Entities”), or transferred by Fyre Media to McFarland and then disbursed

by McFarland. Most of the funds were borrowed from individuals and institutions that were

defrauded by McFarland. Among many other things, McFarland promised investors significant



1
   This description was given by the Bahamas Ministry of Tourism on April 28, 2017. The full statement is available
at https://www.bahamas.com/article/bahamas-ministry-tourism-statement-fyre-festival.
2
  Ms. Fey said to the crowd, “hey everybody, look under your seats, you are all getting one of those cheese sandwiches
from the Fyre Festival.”
3
   Accounts of the amounts of money raised and spent vary. The United States Securities and Exchange Commission
(the “SEC”) and the United States Attorney claim that over $16.5 million was raised from defrauded investors in Fyre
Festival, plus an additional approximately $8 million raised from defrauded investors for Fyre Media. The Trustee’s
investigation has identified approximately $12.5 million raised from defrauded investors and creditors of Fyre
Festival, approximately $1.4 million raised from ticket sales, approximately $1.5 million raised from a company for
advances on prospective future ticket sales, and approximately $1 million raised from sales on prepaid wrist bands
from Festival attendees. Funds raised for the Festival would most often be deposited into Fyre Media accounts, then
transferred directly to recipients or transferred to McFarland’s personal accounts before finally reaching the ultimate
recipient.

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returns and told them that Fyre Festival owned land in Exuma worth $8.4 million and had over

$14 million in receivables, none of which was true. McFarland is now serving a six-year sentence

in federal prison and owes over $26 million in restitution on account of his frauds.

       McFarland used much of the funds raised from defrauded investors and ticketholders to

fund legitimate expenses of the doomed Festival. However, significant amounts were recklessly

spent in continuation of McFarland’s schemes. Just by way of example, significant amounts were

spent on musical acts that never showed up (including $500,000 to Blink 182), over $2.25 million

to influencers that promoted the Festival on social media without indicating to their followers and

the public that they were paid for promoting the Festival (including $275,000 to Kendall Jenner

for a single social media post), over $500,000 to the company that shot and edited Fyre Festival

ads and Festival footage which ultimately used that footage to produce a profitable and popular

documentary panning the Festival (without sharing any of the proceeds of that documentary with

those victimized by McFarland), and over $1.8 million for prepaid private flights to and from the

Festival that never happened.

       By the instant Complaint, the Trustee seeks the avoidance and recovery of $331,709.83

paid to the Defendant (the “Transfers”) in connection with the Defendant’s agreement to serve as

director of the Festival, which turned out to be a disaster of epic proportions. The Trustee asserts

that the Transfers are avoidable as (i) actual fraudulent transfers as they were in continuation of

McFarland’s fraud, and/or (ii) constructive fraudulent transfers because Fyre Festival did not

receive reasonably equivalent value in exchange for the Transfers and they were made while Fyre

Festival was insolvent, and/or (iii) preferential transfers because they were in payment of

obligations within ninety days of Fyre Festival’s bankruptcy filing. Accordingly, the Trustee seeks




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to avoid the Transfers for the benefit of Fyre Festival’s defrauded investors, lenders and Festival

attendees.

                                       INTRODUCTION

       1.      On July 7, 2017 (the “Petition Date”), an involuntary petition under chapter 7 of

Title 11 of the United States Code (the “Bankruptcy Code”) was filed against Fyre Festival by

alleged creditors John Nemeth, Raul Jimenez and Andrew Newman.

       2.      On August 29, 2017, the Court entered the Order for Relief in Fyre Festival’s case

[Docket No. 4].

       3.      The Order for Relief directed Fyre Festival to file all schedules, statements, lists

and a creditors’ matrix within fourteen (14) days of its entry, or September 12, 2017, and on

December 13, 2017, the Court entered an order designating McFarland as the person responsible

for performing Fyre Festival’s duties under the Bankruptcy Code [Docket No. 26], which gave

McFarland a further extension until December 27, 2017 to file the required documents with the

Court. To date, McFarland has not filed the required bankruptcy schedules or statement of

financial affairs, testified at a meeting of creditors, or performed any other duties as required by

the Bankruptcy Code and the Court’s Orders.

       4.      On or around August 31, 2017, Gregory M. Messer was appointed interim trustee

of Fyre Festival’s estate. On or about November 17, 2017, the Trustee presided over the first

meeting of creditors pursuant to section 341(a) of the Bankruptcy Code and duly qualified and

became the permanent trustee herein by operation of section 702(d) of the Bankruptcy Code.




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                                     BASIS FOR RELIEF

        5.     This adversary proceeding is brought pursuant to 11 U.S.C. §§ 544, 547, 548 and

550, Rule 7001(1) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and

§§ 273, 274, 275 and 276 of the New York Debtor and Creditor Law.

                                        JURISDICTION

        6.     This adversary proceeding relates to the bankruptcy case of In re Fyre Festival

LLC, Debtor, Case No. 17-11883 (Bankr. S.D.N.Y. Jul. 7, 2017) (the “Bankruptcy Case”) which

is pending under Chapter 7 of the Bankruptcy Code in the United States Bankruptcy Court for the

Southern District of New York before the Honorable Martin Glenn, United States Bankruptcy

Judge (the “Bankruptcy Court”).

        7.     The Bankruptcy Court has jurisdiction over this adversary proceeding by virtue of

28 U.S.C. §§ 157(a) and (b), and 1334(b), and the “Amended Standing Order of Reference” of the

United States District Court for the Southern District of New York (Preska, C.J.), dated January

31, 2012. This Court has jurisdiction over the pendent state law claims pursuant to 28 U.S.C. §

1367.

        8.     Plaintiff consents to the entry of final orders or judgments by the Bankruptcy Court

with respect to all matters and claims raised by this Complaint.

        9.     Venue is proper in this district pursuant to 28 U.S.C. § 1409(a) because this

proceeding arises in a case under the Bankruptcy Code pending in this district.

                                            PARTIES

        10.    Gregory M. Messer is a member of the panel of private Chapter 7 trustees

established by the United States Trustee pursuant to 28 U.S.C. § 586(a)(1). The Trustee is the

permanent Chapter 7 trustee of Fyre Festival and its bankruptcy estate and is empowered to bring



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this action. The Trustee maintains an address for the conduct of business at 26 Court Street,

Brooklyn, New York 11242.

       11.       Fyre Festival is a limited liability company formed on or around December 14,

2016 and existing under the laws of the State of Delaware. Fyre Festival’s registered office within

the State of Delaware is 1209 Orange Street, Wilmington, Delaware 19801. During its operation

and prior to becoming a debtor under the Bankruptcy Code, Fyre Festival maintained offices at 52

Lispenard Street, TH1, New York, New York 10013. Fyre Festival is the wholly-owned subsidiary

of Fyre Media.

       12.       Fyre Media is a corporation formed on or around March 3, 2016 and existing under

the laws of the State of Delaware. Fyre Media maintains an address for the service of process of

c/o CT Corporation Systems, 28 Liberty St., New York, New York 10005, and c/o CT Corporation

Systems, 111 8th Avenue, 13th Floor, New York, New York 10011. During its operation, Fyre

Media maintained offices at 52 Lispenard Street, TH1, New York, New York 10013.

       13.       McFarland is an individual with a current address at Inmate No. 91186-054, FCI

Otisville, Federal Correctional Institution, P.O. Box 1000, Otisville, New York 10963.

       14.       Lavi is an individual with a residence in the State of New Jersey.

                      FACTS COMMON TO ALL CAUSES OF ACTION

   A. Fyre Festival – Origin to Disaster

       15.       In or around 2013, McFarland, then 22 years old, founded Magnises Inc., a

company that marketed an invitation-only charge card. The Magnises card was marketed as the

“black card” for millennials and was supposed to entitle card holders to exclusive tickets, events

and experiences.




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         16.      In or around March 2016, McFarland and Ja Rule founded Fyre Media, a digital

media company, to develop, launch and manage a software application to be, in its words, “the

first global marketplace for seamless and secure live entertainment booking.”

         17.     The concept for Fyre Media’s business and platform was created by some

combination of McFarland and Ja Rule. McFarland served as Fyre Media’s Chief Executive

Officer.

         18.     In mid- to late-2016, McFarland and Ja Rule conceived of and began promoting the

Festival as a unique concert experience that would take place in Exuma over the course of two

weekends in April and May of 2017.

         19.     Tickets to the Festival were billed as “exclusive” and purported to cost between

$1,200 and $100,000 per ticket or ticket package. In promotional materials, the Festival was called

“the cultural experience of the decade” which included travel via private jet from Miami to the

Bahamas, VIP accommodations and A-list musical performances.

         20.     Fyre Festival promised attendees that the Festival would feature top musical talent

including Blink-182, Pusha T, Tyga, Major Lazer, Disclosure, Migos, and Kaytranada, among

many others.

         21.     The Festival was promoted through celebrities and influencers on social media

including Bella Hadid, Emily Ratajkowski, Kendall Jenner, Elsa Hosk, Lais Ribeiro, Hailey

Baldwin (n/k/a Hailey Bieber), Rose Bertram, Gizele Oliveira, Chanel Iman, and Shanina Shaik.

         22.     Many of the models that promoted the Festival were featured in a promotional video

shot and released in or around December 20164, which promised “an immersive music festival”




4
    The promotional video is available at https://www.youtube.com/watch?v=mz5kY3RsmKo.

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that “exceeds all expectations” to take place “over two transformative weekends” in April and May

2017 “on a remote and private island in the Exumas” that was “once owned by Pablo Escobar.”

       23.     Many of the models and influencers posted a simple orange tile with a link to the

promotional video to their Instagram accounts at the same time in order to disrupt users’ news

feeds and draw attention to the Festival, like this post from Bella Hadid:




       24.     While many of the models that promoted the Festival also attended photo and video

shoots, Kendall Jenner received $275,000 from Fyre Festival for simply making the following post

to social media:




       25.     Ms. Jenner has since removed the post from her social media accounts, but has

retained the $275,000 that she received from the Festival.


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         26.    A majority if not all of the models and influencers that were paid to promote the

Festival did not indicate to their fans and followers that they were paid to advertise and promote

the Festival. Nor did they inform their fans and followers that they ultimately decided not to attend

the Festival because of problems with the Festival of which they and their agencies were uniquely

aware.

         27.    Through the advertisements and promotions, McFarland and other employees of

the Fyre Entities intentionally led the public to believe that the Festival would be filled with famous

models on an exotic private island with “first-class culinary experiences and a luxury atmosphere.”

         28.    When attendees began arriving on Great Exuma for the Festival on April 27, 2017,

they were met with chaos.

         29.    The luxury accommodations promised to Festival attendees were actually FEMA

disaster relief tents with plastic-wrapped mattresses, which, regardless of quality, were grossly

insufficient in number to house the number of attendees. The gourmet food consisted of the now

infamous cheese sandwich. Ferrell dogs roamed the site. Attendees’ luggage was dumped out of

trucks with no organization. No Fyre Festival personnel had answers for the confused attendees.

         30.    At 3:06 pm on April 27, 2017, the band Blink-182, which was supposed to be one

of the headliners for the Festival, tweeted:

         Regrettably, and after much careful and difficult consideration, we want to let you
         know that we won’t be performing at Fyre Fest in the Bahamas this weekend and
         next weekend. We’re not confident that we would have what we need to give you
         the quality of performances we always give our fans.

         31.    Blink-182 had already been paid $500,000 when it cancelled at the last minute. The

band has retained those funds. In its cancellation tweet, the band did not disclose to its fans and

others any of the problems that it was having with Fyre Festival and its management, or that the

Festival appeared to be in serious trouble.

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          32.     Finally, on the morning of April 28, 2017, Fyre Festival announced on Twitter,

“after assessing the situation this morning and looking at best options for our guests, we cannot

move forward as we hoped we could. . . .”

          33.     Attendees had significant difficulty getting off the island once they were there, and

many were locked in the airport for a night while they waited for return flights.

          34.     The Bahamas Ministry of Tourism released this statement on April 28th, describing

the chaotic event5:

          We are extremely disappointed in the way the events unfolded yesterday with the
          Fyre Festival. We offer a heartfelt apology to all who traveled to our country for
          this event. Tourism is our number one industry and it is our aim to deliver world-
          class experiences and events. Hundreds of visitors to Exuma were met with total
          disorganization and chaos. The organizers of Fyre recently asked the Ministry of
          Tourism for support for their private event. The Ministry of Tourism is not an
          official sponsor of Fyre Festival. Given the magnitude of this undertaking, the
          MOT lent its support as we do with all international events. We offered advice and
          assisted with communications with other government agencies. The event
          organizers assured us that all measures were taken to ensure a safe and successful
          event but clearly they did not have the capacity to execute an event of this scale. A
          team of Ministry of Tourism representatives is on the island to assist with the
          organization of a safe return of all Fyre Festival visitors. It is our hope that the Fyre
          Festival visitors would consider returning to the Islands Of The Bahamas in the
          future to truly experience all of our beauty.

          35.     In the aftermath of the Festival, both Hulu and Netflix released documentaries about

the Festival – Hulu’s Fyre Fraud, released on January 14, 2019, and Netflix’s Fyre: The Greatest

Party That Never Happened, released on January 18, 2019. Both documentaries chronical

McFarland’s frauds and the disaster that became of the Festival.




5
    Statement available at: https://www.bahamas.com/article/bahamas-ministry-tourism-statement-fyre-festival.

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   B. Fyre Festival Raised Funds by Defrauding Lenders, Investors and Ticketholders

       36.     McFarland raised money for the Festival by defrauding investors, lenders and ticket

purchasers. Fyre Festival raised and expended not less than $16.5 million according to the SEC

and United States Attorney.

       37.       McFarland acted as the primary solicitor of investments in Fyre Festival via

investment contracts, which gave investors the rights to profits in the Festival’s commercial

enterprises.

       38.     In offering documents and other communications with Fyre Festival investors,

McFarland:

       a) Made false statements concerning Fyre Festival’s assets;

       b) Falsified financial data;

       c) Made false claims of affiliations with talent;

       d) Created a fraudulent brokerage statement in order to suggest to investors and banks that
          McFarland personally possessed collateral sufficient to securitize investments; and

       e) Claimed that he would obtain event cancellation insurance for the Festival, which he
          never did.

       39.     In January 2017, McFarland created a Private Placement Memorandum (the

“PPM”) concerning Fyre Media and Fyre Festival, which was widely distributed to existing and

prospective investors in early 2017.

       40.     The PPM included, on Fyre Festival’s balance sheet as of January 1, 2017, assets

including accounts receivable of $14,827,382.97 and “BlackPoint Exuma Land” valued at

$8,400,000. These assets did not exist. Certain investors relied on the claimed existence of these

assets in making their investment decision.

       41.     In response to requests from certain existing and prospective Fyre Festival investors

that their investments be collateralized, McFarland created a fake brokerage statement, which

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showed that McFarland owned $2.56 million in shares in the common stock of Facebook, Inc.

(“Facebook”). In fact, McFarland owned just $1,499 worth of Facebook shares, a tiny fraction of

the shares indicated by the fake brokerage statement.

       42.     McFarland attached the fake brokerage statement to certain executed investor

agreements and made numerous misstatements concerning his fictitious shares of Facebook in

emails and texts to other prospective investors.

       43.     In early 2017, in an effort to keep the struggling Fyre Festival afloat, McFarland

sought millions of dollars in personal loans from two banks. To attempt to induce the banks to

grant him loans, McFarland provided false information in his loan applications, including

representations inflating his net worth and reiterating the false claim that he owned $2.56 million

worth of Facebook stock.

       44.     McFarland also provided one of the banks with a copy of the fake brokerage

statement, as well as a fraudulent Fyre Media income statement, which grossly inflated the

company’s revenue and income.

       45.     Although both of McFarland’s loan applications ultimately were denied, he told

potential investors that the loans had been approved and that monies from these loans could serve

as collateral for their investments.

       46.     As an inducement to invest in Fyre Festival, McFarland also falsely communicated

to actual and prospective investors that they would have the rights to payouts from Fyre Festival

event cancellation policies if the festival did not proceed as planned. In reality, however,

McFarland never obtained any event cancellation policies for the Festival.

       47.     McFarland’s false statements confirming the purported existence of these policies

were material to the decision of at least one investor to invest in Fyre Festival.



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        48.     McFarland also falsely told investors that a number of stars—including Justin

Bieber and Drake—would perform at the Fyre Festival, when, in fact, no such agreements were

ever reached. McFarland persisted in these false representations regarding artists, despite requests

to desist by the artists’ agents.

        49.     McFarland and Fyre Festival representatives made numerous misrepresentations to

ticket purchasers in order to induce them to purchase tickets and attend the Festival. Fyre Festival

received in excess of $1.4 million from ticket sales, plus an additional $1.5 million from a ticket

vendor for advance ticket sales.

        50.     When Fyre Festival was desperate for money to fund the doomed Festival, it

informed ticket purchasers by email that:

        Fyre Festival is a cashless festival designed to be experienced with your digitally-
        enabled Fyre Band, a wristband that acts as your festival ID and password-protected
        payment method. ATMs will not be available at either event site, so plan ahead if
        you think you’ll want cash on hand in case of emergency.

        51.     In the one week leading up to the Festival, Fyre Festival actively encouraged

ticketholders to put significant amounts onto their prepaid wristbands (the “Fyre Bands”),

recommending $300 per attendee per day, and sent emails to attendees who had already put

significant funds on their Fyre Bands telling them that they should “top off” the amount on their

Fyre Bands ahead of the Festival. In just one week, Fyre Festival raised over $1 million in

prepayments from ticketholders on their Fyre Bands.

    C. McFarland’s Criminal Conduct and Admission of Fraud

        52.     On October 2, 2017, McFarland was charged by the United States Attorney with

wire fraud in connection with allegedly defrauding investors in the Festival and Fyre Media. See

United States v. William McFarland, Case no. 17-cr-00600 (NRB) (S.D.N.Y. Oct. 2, 2017) (the

“McFarland Criminal Action”).


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       53.     On March 6, 2018, McFarland pled guilty to, among other things, wire fraud. In

connection with his plea, McFarland testified as follows:

               In an attempt to promote the digital application [of Fyre Media], I conceived
       and launched the idea for a music festival, the Fyre Festival. While my intention
       for the Fyre Festival was legitimate, I grossly underestimated the resources that it
       would take to execute an event of the magnitude that I had come up with.

               So in an attempt to raise the funds that I deemed necessary to execute the
       event, I lied to investors about various aspects of Fyre Media and my personal
       finances. These lies included false documents and information that I am aware
       were transmitted across interstate lines.

               In addition, on or about April 2017, I engaged in a fraudulent scheme in
       connection with a ticket vendor. Specifically I provided false information to the
       vendor about Fyre Media’s financial condition before entering into a guarantee
       agreement that induced the vendor to pay $2 million for a block of advance tickets
       in order to help fund the Fyre Festival.

McFarland Criminal Action, Dkt. No. 35, transcript of Mar. 2, 2019 hearing, pp.12-13.

       54.     Before being sentenced on the original charges in connection with the Fyre Entities,

on June 12, 2018, McFarland was arrested and charged for a second time in connection with

another alleged ticket-selling scheme.

       55.     On July 26, 2018, McFarland pled guilty to, among other things, wire fraud and

bank fraud while on pretrial release in connection with the new charges.

       56.     As set forth in greater detail in the government’s sentencing memorandum, “[w]ith

Fyre Media in 2016 and Fyre Festival in 2017, McFarland’s lies about the rapid growth and

incredible financial success of the Fyre companies led roughly 80 investors to lose over $24

million.” The Government’s Sentencing Memorandum, Docket No. 63 in Case No. 17-cv-00600,

p. 23 (S.D.N.Y. Oct. 3, 2018).

       57.     In sentencing McFarland, the Honorable Naomi Reice Buchwald, United States

District Judge, noted:



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                       While defendant has argued that he committed these crimes because
               he suffers from certain psychological conditions which explain his actions,
               I reject that evaluation. Rather, it is my conclusion, based on all the
               submissions which I’ve carefully considered, that the defendant is a serial
               fraudster, and that to date his fraud, like a circle, has no end.

                      Beyond his statement in Court today, which I do not know exactly
               how to evaluate, the absence prior to today of any moral recognition of the
               wrongfulness of his conduct is at the heart of the need for specific
               deterrence. It is also clear that Mr. McFarland has actually been dishonest
               most of his life. He started out with small scams which have grown over
               time.

McFarland Criminal Action, Dkt. No. 69, p.55, LL.6-18 (Oct. 11, 2018).

       58.     On October 16, 2018, the United States District Court for the Southern District of

New York entered judgment against McFarland, which included a term of six (6) years in federal

prison and forfeiture to the United States in the amount of $26,191,306.28, the amount that

McFarland raised from defrauded lenders and investors in the Fyre Entities.

   D. The Transfer of Fyre Festival Funds in, to and Through Fyre Media and McFarland’s
      Accounts

       59.     Fyre Festival maintained only two financial accounts – escrow accounts for the

benefit of a flight vendor at First Western Trust Bank (account nos. ending in 0793 and 2468) (the

“Air Travel Accounts”). The Air Travel Accounts were established and used exclusively in

connection with the booking of and payment for flights, a requirement of the Federal Aviation

Administration.

       60.     The Air Travel Accounts were funded with at least $1.8 million in Festival Funds

(as defined below), including by three transfers – $1.22 million from McFarland that he received

from Fyre Media, $313,000 from Fyre Media, and $240,000 directly from defrauded investor

Carola Jain.




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       61.     All other funds raised and expended by Fyre Festival were deposited into and

disbursed directly from accounts maintained by Fyre Media and McFarland.

       62.     Not less than $14,415,346.60 of Fyre Festival’s funds (together with any funds

borrowed by, invested in, received for the account of, or otherwise belonging to Fyre Festival, the

“Festival Funds”) were transferred to, deposited into and disbursed from Fyre Media’s bank

accounts (collectively, the “Festival to Media Transfers”). The Festival to Media Transfers include

$10,471,000 in transfers by investors in and lenders to Fyre Festival, $1,404,531.86 in revenues

from ticket purchasers, $1,500,000 from a company that paid for advance ticket sales, and

$1,039,814.77 from ticket purchasers for amounts put on their Fyre Bands.

       63.     Fyre Media then made transfers of Festival Funds to McFarland (collectively, the

“Festival to McFarland Transfers”, and together with the Festival to Media Transfers, the “Insider

Fraudulent Transfers”). The Festival to McFarland Transfers from January 1, 2017 to April 30,

2017 were not less than $10,993,267.51.

   E. Use of Fyre Festival Funds

       64.     Much of the Festival Funds were used to pay vendors and service providers which

provided legitimate and necessary services to the Fyre Festival.

       65.     However, much of the Festival Funds were used to pay musical acts that never

showed up or performed at the Festival, models and influencers who promoted the Festival at

significant cost without disclosing to the public that they were paid for promoting the Festival, a

production company that ultimately used the footage to co-produce a profitable Netflix

documentary, a $187,250 deposit to a catering company that never provided food to the Festival,

and over $1.8 million for flights that never took place. These parties received Festival Funds at




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the unfair expense of Fyre Festival’s defrauded investors, creditors and ticketholders. These

expenditures are collectively referred to herein as the “Festival Fraudulent Transfers”).

        66.        McFarland commingled in his personal account his assets and the assets of Fyre

Festival, Fyre Media and possibly other entities under his control. During the period where the

Festival to McFarland Transfers were made, McFarland spent not less than $315,645.87 on

personal expenses including a luxury penthouse apartment, interior design and home furnishings,

hotel stays, dining and entertainment, transportation, clothing and other things.

        67.        Other Festival Funds were simply used to make “preferential transfers” to certain

of Fyre Festival’s creditors, which should be recovered by the Trustee for the benefit of all of the

creditors of Fyre Festival (collectively, the “Festival Preferential Transfers”).

        68.        The Trustee has commenced an action against Fyre Media and McFarland seeking

the avoidance in the first instance of the Insider Fraudulent Transfers as well as the exclusive right

to pursue the recovery of any Festival Fraudulent Transfers and Festival Preferential Transfers.

    F. The Instant Transfers

        69.        Upon information and belief, the Defendant was an event producer with whom the

Fyre Entities entered into a contract or agreement, pursuant to which he was to act as the director

of the Festival.

        70.        In connection with his agreement with the Fyre Entities, the following transfers

were made to or for the benefit of the Defendant:

                                 Date      Transferor         Amount
                              3/29/17      Fyre Media        $ 100,000.00
                              3/29/17      Fyre Media          $ 20,000.00
                              3/31/17      Fyre Media          $ 10,000.00
                              4/6/17       Fyre Media         $100,000.00
                              4/12/17      McFarland           $ 81,709.83
                              4/12/17      McFarland            $20,000.00


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(as defined above, the “Transfers”).

       71.     The Festival was an epic failure.

       72.     The Defendant has retained the full amount and benefit of the Transfers.

                    AS AND FOR A FIRST CAUSE OF ACTION
    (Fraudulent Transfers – Actual Fraud – 11 U.S.C. §§ 544(b), 548(a)(1)(A) and 550;
                       And N.Y. Debtor and Creditor Law § 276)

       73.     Plaintiff repeats and re-alleges each and every allegation set forth in paragraphs 1

through 72 of this Complaint as if fully set forth at length herein.

       74.     Each of the Transfers was made from Festival Funds.

       75.     Each of the Transfers constituted a transfer of an interest of Fyre Festival within

the meaning of section 101(54) of the Bankruptcy Code.

       76.     Each of the Transfers was to or for the benefit of the Defendant as set forth above.

       77.     Fyre Festival was at all times undercapitalized and incapable of putting on the

Festival in the manner promised to ticketholders, or repaying the funds borrowed from lenders to

the Fyre Festival, or returning investments made in the Fyre Festival.

       78.     McFarland admitted to his fraudulent scheme in connection with his guilty plea in

the McFarland Criminal Action and has been sentenced to and is serving a 6-year term in federal

prison as a result of his wrongful conduct.

       79.     A judgment of restitution in favor of the United States has been entered against

McFarland in the amount of $26,191,306.28 on account of the funds raised by McFarland through

his fraudulent conduct.

       80.       The Transfers were made in continuation of McFarland’s scheme to defraud

investors, lenders, and ticket purchasers of the Fyre Festival.




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       81.     The Transfers were made with actual intent by Fyre Festival to hinder, delay, and/or

defraud Fyre Festival’s existing creditors, ticket holders and investors, and individuals and entities

to which Fyre Festival would become obligated.

       82.     All of the Transfers were made within two (2) years of the Petition Date.

       83.     There are creditors that hold unsecured claims against Fyre Festival allowable

under Section 502 of the Bankruptcy Code that were creditors at the time each of the Transfers

was made.

       84.     Based upon the foregoing, the Trustee is entitled to an order and judgment against

Defendant avoiding the Transfers (the “Actual Fraudulent Transfers”) in the amount of

$331,709.83 and directing the Defendant to return the Actual Fraudulent Transfers to the Trustee

together with prejudgment interest and attorneys’ fees.

                   AS AND FOR A SECOND CAUSE OF ACTION
 (Fraudulent Transfers – Constructive Fraud – 11 U.S.C. §§ 544(b), 548(a)(1)(B) and 550;
                And N.Y. Debtor and Creditor Law §§ 273, 274 and 275)

       85.     Plaintiff repeats and re-alleges each and every allegation set forth in paragraphs 1

through 84 of this Complaint as if fully set forth at length herein.

       86.     Each of the Transfers was made from Festival Funds.

       87.     Each of the Transfers constituted a transfer of an interest of Fyre Festival within

the meaning of section 101(54) of the Bankruptcy Code.

       88.     Each of the Transfers was to or for the benefit of the Defendant as set forth above.

       89.     All of the Transfers were made within two (2) years of the Petition Date.

       90.     There are creditors that hold unsecured claims against Fyre Festival allowable

under Section 502 of the Bankruptcy Code that were creditors at the time each of the Transfers

was made.



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       91.     Fyre Festival received less than fair consideration or reasonably equivalent value

in exchange for making each of the Transfers.

       92.     At the time that each of the Transfers was made, Fyre Festival was (i) insolvent or

became insolvent as a result of the Transfers; (ii) engaged or was about to engage in a business or

transaction for which the property remaining in its hands after the Transfers constituted

unreasonably small capital; and/or (iii) intended to or believed that it would incur debts beyond its

ability to pay as they matured.

       93.     Based upon the foregoing, the Trustee is entitled to an order and judgment against

Defendant avoiding the Transfers (the “Constructive Fraudulent Transfers”) in the amount of

$331,709.83 and directing the Defendant to return the Constructive Fraudulent Transfers to the

Trustee together with prejudgment interest and attorneys’ fees.

                       AS AND FOR A THIRD CAUSE OF ACTION
                    (Preferential Transfers – 11 U.S.C. §§ 547(b) and 550)

       94.     Plaintiff repeats and re-alleges each and every allegation set forth in paragraphs 1

through 93 of the Complaint as if fully set forth at length herein.

       95.     Each of the Transfers was made from Festival Funds.

       96.     Each of the Transfers constituted a transfer of interest of Fyre Festival within the

meaning of section 101(54) of the Bankruptcy Code.

       97.     Each of the Transfers was to or for the benefit of the Defendant as set forth above.

       98.     The following Transfers were made within ninety (90) days of the Petition Date:

                      Date    Transferor              Amount       Transferee
                   04/12/2017 McFarland                $81,709.83 Lavi
                   04/12/2017 McFarland                $20,000.00 Lavi

(the “Preferential Transfers”).




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        99.    Defendant was a creditor of Fyre Festival at the time the Preferential Transfers were

made.

        100.   The Preferential Transfers were made for or on account of an antecedent debt owed

by Fyre Festival before such transfer was made.

        101.   The Preferential Transfers were made while Fyre Festival was insolvent. In

accordance with Section 547(f) of the Bankruptcy Code, Fyre Festival is presumed to have been

insolvent during the ninety (90) days preceding the Petition Date.

        102.   The Preferential Transfers enabled Defendant to receive more than it would receive

if (A) the case were commenced as a case under chapter 7 of the Bankruptcy Code; (B) the

Preferential Transfers had not been made; and (C) the recipient received payment of such debts to

the extent provided by the provisions of the Bankruptcy Code.

        103.   Based upon the foregoing, the Trustee is entitled to an order and judgment against

Defendants avoiding the Preferential Transfers in the amount of $101,709.83 and directing the

Defendant to return the Preferential Transfers to the Trustee together with prejudgment interest

and attorneys’ fees.

         WHEREFORE, Plaintiff demands judgment against the Defendant as follows:

    a) On the First Cause of Action for the avoidance of Actual Fraudulent Transfers judgment

        against Defendant avoiding the Actual Fraudulent Transfers in the amount of $331,709.83

        and directing the Defendant to return the Actual Fraudulent Transfers to the Trustee

        together with prejudgment interest and attorneys’ fees;

    b) On the Second Cause of Action for the avoidance of Constructive Fraudulent Transfers

        judgment against Defendant avoiding the Transfers in the amount of $331,709.83 and




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          directing the Defendant to return the Constructive Fraudulent Transfers to the Trustee

          together with prejudgment interest and attorneys’ fees;

   c) On the Third Cause of Action for the avoidance of the Preferential Transfer judgment

          against Defendant avoiding the Preferential Transfers in the amount of $101,709.83 and

          directing the Defendant to return the Preferential Transfers to the Trustee together with

          prejudgment interest and attorneys’ fees; and

   d) Granting such other and further relief as this Court deems just.

 Dated:     New York, New York
            August 28, 2019
                                                   KLESTADT WINTERS JURELLER
                                                    SOUTHARD & STEVENS, LLP


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                                                          Special Litigation Counsel to Plaintiff
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